Case 25-01384-jd   Doc 46   Filed 05/08/25 Entered 05/12/25 09:14:15   Desc Main
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                                                                Filed By The Court
                                                                5/8/2025 5:37 PM
                                                                U.S. BANKRUPTCY COURT
                                                              DISTRICT OF SOUTH CAROLINA
Case 25-01384-jd   Doc 46   Filed 05/08/25 Entered 05/12/25 09:14:15   Desc Main
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                Case 25-01384-jd                   Doc 46        Filed 05/08/25 Entered 05/12/25 09:14:15                                      Desc Main
                                                                 Document      Page 3 of 94
 Fill in this information to identify your case:

     Debtor 1           Jacqueline            Elizabeth               Ard
                        First Name            Middle Name            Last Name

     Debtor 2           Terry                 Frank                   Nicola
     (Spouse, if filing) First Name           Middle Name            Last Name

     United States Bankruptcy Court for the: District of South Carolina

     Case number (if 25-01384-JD
     known)                                                                                                                                    ✔ Check if this is an
                                                                                                                                               ❑
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B               Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral    Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this     portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                  If any

     2.1 Estate At Westbury Owners                     Describe the property that secures the claim:                   $22,625.02             $91,950.00               $0.00
          Assoc, Inc
                                                       PIN R600 031 000 0266 1106
         Creditor’s Name
                                                       100 Kensington Blvd Unit 1106 Bluffton, SC 29910-7484 Estate at Westbury (violation of the automatic
          Board of Directors
                                                       stay)
          85 Kensington Blvd                           As of the date you file, the claim is: Check all that apply.
         Number          Street
                                                       ❑ Contingent
          Bluffton, SC 29910-4884                      ❑ Unliquidated
         City               State       ZIP Code       ✔ Disputed
                                                       ❑
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ✔ Judgment lien from a lawsuit
                                                       ❑
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred                        Last 4 digits of account number         1    4       0   7

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $22,625.02




Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 14
             Case 25-01384-jd              Doc 46         Filed 05/08/25 Entered 05/12/25 09:14:15                                    Desc Main
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Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 Hilton Head Resort Four                    Describe the property that secures the claim:                  $43,493.32          $139,200.00                $0.00
       Seasons Centre
      Creditor’s Name                            PIN R510 012 000 025B 4408
       Wm Weston J Newton Jones,                 663 William Hilton Pkwy Unit 4408 Hilton Head Island, SC 29928-3537

       Simpson & Newton, PA                      As of the date you file, the claim is: Check all that apply.
       Po Box 1938                               ❑ Contingent
      Number         Street                      ❑ Unliquidated
       Bluffton, SC 29910-1938
                                                 ✔ Disputed
                                                 ❑
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ✔ Judgment lien from a lawsuit
                                                 ❑
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
        community debt
      Date debt was incurred                     Last 4 digits of account number         4    4   0    8

      Remarks: Alleged HOA fees

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $43,493.32
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 14
             Case 25-01384-jd              Doc 46          Filed 05/08/25 Entered 05/12/25 09:14:15                                   Desc Main
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Debtor 1         Jacqueline           Elizabeth               Ard                                Case number (if known) 25-01384-JD
Debtor 2         Terry                Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

 2.3 Nationstar Mortgage, LLC                   Describe the property that secures the claim:               $211,866.31            $139,200.00         $72,666.31
      Creditor’s Name
                                                 PIN R510 012 000 025B 4408
      Attn: Bankruptcy Department
                                                 663 William Hilton Pkwy Unit 4408 Hilton Head Island, SC 29928-3537
      PO Box 619096                             As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                ❑ Contingent
      Dallas, TX 75261-9741                     ❑ Unliquidated
      City               State     ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ❑ Debtor 1 only                           ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ✔ Statutory lien (such as tax lien, mechanic’s lien)
                                                ❑
      ✔ Debtor 1 and Debtor 2 only
      ❑                                         ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     01/27/2022     Last 4 digits of account number         4    1     9    2

 2.4 Norman Jewelry and Loan                    Describe the property that secures the claim:                  $3,260.73             $25,000.00                $0.00
      Creditor’s Name
                                                 Woman's custom made engagement ring
      24777 Telegraph Suite B
      Number         Street
                                                As of the date you file, the claim is: Check all that apply.
                                                ❑ Contingent
      Southfield, MI 48034                      ❑ Unliquidated
      City               State     ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                         ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/18/2024     Last 4 digits of account number         1    6     4    7

      Remarks: Refuse to Turnover Property of the Estate

      Add the dollar value of your entries in Column A on this page. Write that number here:                $215,127.04
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 14
             Case 25-01384-jd              Doc 46         Filed 05/08/25 Entered 05/12/25 09:14:15                                    Desc Main
                                                          Document      Page 6 of 94
Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.5 Polly Nicola                               Describe the property that secures the claim:                  unknown                $2,508.87               $0.00
      Creditor’s Name
                                                 Komatsu: Northern Trust (1)
       2583 Lower Assembly Drive
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Fort Mill, SC 29708                       ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Domestic: MSA (Non-Qualifying DSO)
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Remarks: Marital Settlement Agreement payment (Non-Alimony, Non-Spousal Support, Non-Separate Maintenance). Ex-spouse refuses to turnover
               collected funds
  2.6 Polly Nicola                               Describe the property that secures the claim:                  unknown                $2,356.94               $0.00
      Creditor’s Name
                                                 Komatsu: Northern Trust (2)
       2583 Lower Assembly Drive
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Fort Mill, SC 29708                       ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Domestic: Non-Qualifying DSO
           another                                  offset)
      ❑ Check if this claim relates to a
        community debt
      Date debt was incurred                     Last 4 digits of account number

      Remarks: Marital Settlement Agreement payment (Non-Alimony, Non-Spousal Support, Non-Separate Maintenance). Ex-spouse refuses to turnover
               collected funds

      Add the dollar value of your entries in Column A on this page. Write that number here:                         $0.00
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 4 of 14
             Case 25-01384-jd              Doc 46         Filed 05/08/25 Entered 05/12/25 09:14:15                                    Desc Main
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Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.7 Polly Nicola                               Describe the property that secures the claim:                   unknown               $1,242.06               $0.00
      Creditor’s Name
                                                 Komatsu: Joy Global
       2583 Lower Assembly Drive
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Fort Mill, SC 29708                       ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Domestic: Non-Qualifying DSO
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Remarks: Marital Settlement Agreement payment (Non-Alimony, Non-Spousal Support, Non-Separate Maintenance). Ex-spouse refuses to turnover
               collected funds
  2.8 The Spa on Port Royal Sound                Describe the property that secures the claim:                  $47,933.53          $132,450.00                $0.00
      Creditor’s Name
                                                 PIN R510 005 000 008B 3218
       Board of Directors
                                                 239 Beach City Rd Unit 3218 Hilton Head Island, SC 29926-4718
       239 Beach City Rd                         As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                 ❑ Contingent
       Hilton Head, SC 29926-4707                ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ✔ Judgment lien from a lawsuit
                                                 ❑
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     09/25/2023      Last 4 digits of account number         1    8   1    8

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $47,933.53
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 14
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Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.9 Title Max Corporation                      Describe the property that secures the claim:                   $4,565.00             $5,736.00               $0.00
      Creditor’s Name
                                                 2017 Hyundai Elantra
       15 Bull St
                                                 Needs Radiator and Transmission Work
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Savannah, GA 31401-2685
                                                 ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Title Loan
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     09/01/2024      Last 4 digits of account number

 2.10 West-Aircomm FCU                           Describe the property that secures the claim:                  $11,243.32           $10,904.00           $339.32
      Creditor’s Name
                                                 2018 Jeep Grand Cherokee
       Weltman, Weinberg & Reis Co
                                                 Needs Transmission Work
       LPA
                                                 As of the date you file, the claim is: Check all that apply.
       5990 W Creek Rd Ste 200
      Number         Street                      ❑ Contingent
                                                 ❑ Unliquidated
       Independence, OH 44131-2191               ✔ Disputed
                                                 ❑
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ✔ Debtor 2 only
      ❑                                          ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     09/21/2018      Last 4 digits of account number         6    2   0    2

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $15,808.32
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




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Debtor 1         Jacqueline           Elizabeth               Ard                                Case number (if known) 25-01384-JD
Debtor 2         Terry                Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

2.11 Westlake Financial                         Describe the property that secures the claim:                  $35,584.44             $7,475.00        $28,109.44
      Creditor’s Name
                                                 2020 Ram Truck ProMaster
      2 Equity Way Ste 200
                                                 Needs Transmission Work Commercial Use
      Number         Street
                                                As of the date you file, the claim is: Check all that apply.
                                                ❑ Contingent
      Westlake, OH 44145-1045
                                                ❑ Unliquidated
      City               State     ZIP Code     ✔ Disputed
                                                ❑
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                         ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     03/28/2023     Last 4 digits of account number         7    0     8    3

2.12 Zeidmans Jewelry & Loan of MI              Describe the property that secures the claim:                     $990.00             $3,500.00                $0.00
      Creditor’s Name
                                                 Earrings Ladies Hoop diamonds
      Best Law Tara E. Nauful
      Po Box 2374                               As of the date you file, the claim is: Check all that apply.
      Number         Street                     ❑ Contingent
      Mt Pleasant, SC 29465-2374                ❑ Unliquidated
      City               State     ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                         ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     07/29/2024     Last 4 digits of account number         6    2     1    2

      Remarks: Refused to turnover property of the Estate

      Add the dollar value of your entries in Column A on this page. Write that number here:                   $36,574.44
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




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Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

 2.13 Zeidmans Jewelry & Loan of MI              Describe the property that secures the claim:                    $172.50                $700.00               $0.00
      Creditor’s Name
                                                 Ring Men Wedding Ring
       Best Law Tara E. Nauful
       Po Box 2374                               As of the date you file, the claim is: Check all that apply.
      Number         Street                      ❑ Contingent
       Mt Pleasant, SC 29465-2374                ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/08/2024      Last 4 digits of account number         8    3   0    8

 2.14 Zeidmans Jewelry & Loan of MI              Describe the property that secures the claim:                    $172.50                $600.00               $0.00
      Creditor’s Name
                                                 Earrings Ladies
       Best Law Tara E. Nauful
       Po Box 2374                               As of the date you file, the claim is: Check all that apply.
      Number         Street                      ❑ Contingent
       Mt Pleasant, SC 29465-2374                ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/09/2024      Last 4 digits of account number         8    7   0    0

      Remarks: Refused to Turnover Property of the Estate

      Add the dollar value of your entries in Column A on this page. Write that number here:                      $345.00
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




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             Case 25-01384-jd              Doc 46        Filed 05/08/25 Entered 05/12/25 09:14:15                                     Desc Main
                                                         Document     Page 11 of 94
Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

 2.15 Zeidmans Jewelry & Loan of MI              Describe the property that secures the claim:                    $308.75              $1,200.00               $0.00
      Creditor’s Name
                                                 Bracelet Ladies
       Best Law Tara E. Nauful
       Po Box 2374                               As of the date you file, the claim is: Check all that apply.
      Number         Street                      ❑ Contingent
       Mt Pleasant, SC 29465-2374                ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/09/2024      Last 4 digits of account number         8    7   0    1

      Remarks: Refused to Turnover Property of the Estate
 2.16 Zeidmans Jewelry & Loan of MI              Describe the property that secures the claim:                    $554.00              $1,800.00               $0.00
      Creditor’s Name
                                                 Bracelet Ladies
       Best Law Tara E. Nauful
       Po Box 2374                               As of the date you file, the claim is: Check all that apply.
      Number         Street                      ❑ Contingent
       Mt Pleasant, SC 29465-2374                ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/10/2024      Last 4 digits of account number         8    7   7    5

      Remarks: Refuse to Turnover Property of the Estate

      Add the dollar value of your entries in Column A on this page. Write that number here:                      $862.75
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 9 of 14
             Case 25-01384-jd              Doc 46        Filed 05/08/25 Entered 05/12/25 09:14:15                                     Desc Main
                                                         Document     Page 12 of 94
Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                 Column C
                Additional Page                                                                        Amount of claim        Value of collateral      Unsecured
   Part 1:                                                                                                                    that supports this       portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                    If any

 2.17 Zeidmans Jewelry & Loan of MI              Describe the property that secures the claim:                    $336.00              $1,500.00                $0.00
      Creditor’s Name
                                                 Bracelet Ladies
       Best Law Tara E. Nauful
       Po Box 2374                               As of the date you file, the claim is: Check all that apply.
      Number         Street                      ❑ Contingent
       Mt Pleasant, SC 29465-2374                ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/10/2024      Last 4 digits of account number         8    7   7    6

 2.18 Zeidmans Jewelry & Loan of MI              Describe the property that secures the claim:                    $663.00              $2,500.00                $0.00
      Creditor’s Name
                                                 Gold Herring Bone Heirloom Necklace
       Best Law Tara E. Nauful
       Po Box 2374                               As of the date you file, the claim is: Check all that apply.
      Number         Street                      ❑ Contingent
       Mt Pleasant, SC 29465-2374                ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/30/2024      Last 4 digits of account number         2    4   5    0

      Remarks: Refuse to Turnover Property of the Estate

      Add the dollar value of your entries in Column A on this page. Write that number here:                      $999.00
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 10 of 14
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Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                 Column C
                Additional Page                                                                        Amount of claim        Value of collateral      Unsecured
   Part 1:                                                                                                                    that supports this       portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                    If any

 2.19 Zeidmans Jewelry & Loan of MI              Describe the property that secures the claim:                  $3,344.40            $23,740.00                 $0.00
      Creditor’s Name
                                                 Ladies Custom made Wedding Ring
       Best Law Tara E. Nauful
       Po Box 2374                               As of the date you file, the claim is: Check all that apply.
      Number         Street                      ❑ Contingent
       Mt Pleasant, SC 29465-2374                ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     11/30/2024      Last 4 digits of account number         2    4   5    1

      Remarks: Refuse to Turnover Property of the Estate

      Add the dollar value of your entries in Column A on this page. Write that number here:                    $3,344.40
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                            $387,112.82
      Write that number here:




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Debtor 1        Jacqueline            Elizabeth             Ard                             Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                 Nicola
               First Name            Middle Name            Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly,
 if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional
 persons to be notified for any debts in Part 1, do not fill out or submit this page.
   1. Bromley Law Firm LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.1
      Name
                                                                                  Last 4 digits of account number
       Evan K. Bromley
       211 Goethe Rd Ste B
      Number            Street
       Bluffton, SC 29910-6014
      City                                State              ZIP Code
   2. Julie A. Franklin, Esq
                                                                                  On which line in Part 1 did you enter the creditor? 2.1
      Name
                                                                                  Last 4 digits of account number
       Po Box 2976
      Number            Street


       Bluffton, SC 29910-2976
      City                                State              ZIP Code
   3. Jones, Simpson, and Newton PA
                                                                                  On which line in Part 1 did you enter the creditor? 2.2
      Name
                                                                                  Last 4 digits of account number
       Attn: Wm Weston J Newton
       7 Plantation Park Drive Suite 3
      Number            Street
       Bluffton, SC 29910
      City                                State              ZIP Code
   4. Nationstar Mortgage, LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.3
      Name
                                                                                  Last 4 digits of account number
       Attn: Bankruptcy Department
       PO Box 619096
      Number            Street
       Dallas, TX 75261-9741
      City                                State              ZIP Code
   5. Taybron Law Firm LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.5
      Name
                                                                                  Last 4 digits of account number
       3399 Churchview Ave
      Number            Street


       Pittsburgh, PA 15227-4358
      City                                State              ZIP Code
   6. Morgan Lewis & Bockius LLP
                                                                                  On which line in Part 1 did you enter the creditor? 2.5
      Name
                                                                                  Last 4 digits of account number
       Attn: Matt Hawes
       One Oxford Centre, Thirty-Second FLR
      Number            Street
       Pittsburgh, PA 15219-6401
      City                                State              ZIP Code




Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                page 12 of 14
             Case 25-01384-jd          Doc 46      Filed 05/08/25 Entered 05/12/25 09:14:15                            Desc Main
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Debtor 1        Jacqueline         Elizabeth           Ard                         Case number (if known) 25-01384-JD
Debtor 2        Terry              Frank               Nicola
               First Name          Middle Name        Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed - Additional Page
   7. Komatsu Benefit Dept
                                                                          On which line in Part 1 did you enter the creditor? 2.5
      Name
                                                                          Last 4 digits of account number
       Mark Harder
       401 E Greenfield Ave
      Number            Street
       Milwaukee, WI 53204-2941
      City                             State           ZIP Code
   8. Taybron Law Firm LLC
                                                                          On which line in Part 1 did you enter the creditor? 2.6
      Name
                                                                          Last 4 digits of account number
       3399 Churchview Ave
      Number            Street


       Pittsburgh, PA 15227-4358
      City                             State           ZIP Code
   9. Komatsu Benefit Dept
                                                                          On which line in Part 1 did you enter the creditor? 2.6
      Name
                                                                          Last 4 digits of account number
       Mark Harder
       401 E Greenfield Ave
      Number            Street
       Milwaukee, WI 53204-2941
      City                             State           ZIP Code
  10. Morgan Lewis & Bockius LLP
                                                                          On which line in Part 1 did you enter the creditor? 2.6
      Name
                                                                          Last 4 digits of account number
       Attn: Matt Hawes
       One Oxford Centre, Thirty-Second FLR
      Number            Street
       Pittsburgh, PA 15219-6401
      City                             State           ZIP Code
  11. Taybron Law Firm LLC
                                                                          On which line in Part 1 did you enter the creditor? 2.7
      Name
                                                                          Last 4 digits of account number
       3399 Churchview Ave
      Number            Street


       Pittsburgh, PA 15227-4358
      City                             State           ZIP Code
  12. Komatsu Benefit Dept
                                                                          On which line in Part 1 did you enter the creditor? 2.7
      Name
                                                                          Last 4 digits of account number
       Mark Harder
       401 E Greenfield Ave
      Number            Street
       Milwaukee, WI 53204-2941
      City                             State           ZIP Code


Official Form 106D                   Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page 13 of 14
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Debtor 1        Jacqueline         Elizabeth            Ard                         Case number (if known) 25-01384-JD
Debtor 2        Terry              Frank                Nicola
               First Name          Middle Name         Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed - Additional Page
  13. Morgan Lewis & Bockius LLP
                                                                           On which line in Part 1 did you enter the creditor? 2.7
      Name
                                                                           Last 4 digits of account number
       Attn: Matt Hawes
       One Oxford Centre, Thirty-Second FLR
      Number            Street
       Pittsburgh, PA 15219-6401
      City                             State            ZIP Code
  14. Law Office of Scott M. Wild LLC
                                                                           On which line in Part 1 did you enter the creditor? 2.8
      Name
                                                                           Last 4 digits of account number
       Scott M. Wild
       37 New Orleans Road Suite F
      Number            Street
       Hilton Head Island, SC 29928
      City                             State            ZIP Code
  15. Mutterer Law Firm, LLC
                                                                           On which line in Part 1 did you enter the creditor? 2.8
      Name
                                                                           Last 4 digits of account number
       Jannine M. Mutterer, Esq
       5 Red Cedar Street Suite 102
      Number            Street
       Bluffton, SC 29910
      City                             State            ZIP Code
  16. Smith Debnam Narron Drake Saintsing
                                                                           On which line in Part 1 did you enter the creditor? 2.8
      Name
                                                                           Last 4 digits of account number
       & Myers, LLP Lucas S. Fautua
       171 Church St Ste 120c
      Number            Street
       Charleston, SC 29401-3136
      City                             State            ZIP Code




Official Form 106D                    Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page 14 of 14
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                Case 25-01384-jd                   Doc 46       Filed 05/08/25 Entered 05/12/25 09:14:15                                       Desc Main
                                                                Document     Page 18 of 94
 Fill in this information to identify your case:

  Debtor 1            Jacqueline              Elizabeth                Ard
                     First Name              Middle Name              Last Name

  Debtor 2            Terry                   Frank                    Nicola
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the: District of South Carolina

  Case number        25-01384-JD
  (if known)                                                                                                                                   ✔ Check if this is an
                                                                                                                                               ❑
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 Beaufort County Treasurer                          Last 4 digits of account number           3    2    1    8            $3,702.32        unknown         $3,702.32
         Priority Creditor’s Name
                                                         When was the debt incurred?                   01/15/2025
         Property Tax
         Po Box 105176
         Number        Street                            As of the date you file, the claim is: Check all that apply.
         Atlanta, GA 30348-5176                          ❑ Contingent
         City              State           ZIP Code      ❑ Unliquidated
                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ❑ Debtor 1 only                                 Type of PRIORITY unsecured claim:
         ❑ Debtor 2 only                                 ❑ Domestic support obligations
         ✔ Debtor 1 and Debtor 2 only
         ❑                                               ❑ Taxes and certain other debts you owe the government
         ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
         ❑ Check if this claim is for a                  ✔ Other. Specify Real Estate Taxes
                                                         ❑
            community debt

         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
         Remarks: PIN: R510-005-000-008B-3218




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 39
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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
  2.2 Beaufort County Treasurer                     Last 4 digits of account number         1    1   0    6            $2,021.07    unknown      $2,021.07
      Priority Creditor’s Name
                                                    When was the debt incurred?                 01/15/2025
       Property Tax
       Po Box 105176
      Number           Street                       As of the date you file, the claim is: Check all that apply.
       Atlanta, GA 30348-5176                       ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: PIN: R600-031-000-0266-1106
  2.3 Beaufort County Treasurer                     Last 4 digits of account number         4    4   0    5            $3,761.77    unknown      $3,761.77
      Priority Creditor’s Name
                                                    When was the debt incurred?                 01/15/2025
       Property Tax
       Po Box 105176
      Number           Street                       As of the date you file, the claim is: Check all that apply.
       Atlanta, GA 30348-5176                       ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: PIN: R510-012-000-025B-4405



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 39
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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
  2.4 City of Detroit Water and                     Last 4 digits of account number         0    3   0    1            $1,383.51    unknown      $1,383.51
       Sewerage Dept
                                                    When was the debt incurred?
      Priority Creditor’s Name
       735 Randolph St
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
                                                    ❑ Contingent
       Detroit, MI 48226-2830                       ❑ Unliquidated
      City                State         ZIP Code    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.             Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                             ❑ Domestic support obligations
      ❑ Debtor 2 only                               ❑ Taxes and certain other debts you owe the government
      ❑ Debtor 1 and Debtor 2 only                  ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another     ✔ Other. Specify Utilities
                                                    ❑
      ❑ Check if this claim is for a
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  2.5 City of Detroit Water and                     Last 4 digits of account number         3    3   0    1            $1,782.38    unknown      $1,782.38
       Sewerage Dept
                                                    When was the debt incurred?
      Priority Creditor’s Name
       735 Randolph St
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
                                                    ❑ Contingent
       Detroit, MI 48226-2830                       ❑ Unliquidated
      City                State         ZIP Code    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.             Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                             ❑ Domestic support obligations
      ❑ Debtor 2 only                               ❑ Taxes and certain other debts you owe the government
      ❑ Debtor 1 and Debtor 2 only                  ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another     ✔ Other. Specify Utilities
                                                    ❑
      ❑ Check if this claim is for a
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3 of 39
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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim   Priority      Nonpriority
                                                                                                                                 amount        amount
  2.6 Consumer Energy Company                       Last 4 digits of account number         8    5   2    5            $347.83       $347.83        $0.00
      Priority Creditor’s Name
                                                    When was the debt incurred?
       Attn: Legal Dept
       One Energy Plaza Dr
      Number           Street                       As of the date you file, the claim is: Check all that apply.

       Jackson, MI 49201-2357                       ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Utilities
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Utility Services
  2.7 County of Allegheny Treasurer                 Last 4 digits of account number        P     1   4    6            $116.36    unknown         $116.36
      Priority Creditor’s Name
                                                    When was the debt incurred?
       Room 108 Courthouse
       436 Grant St
      Number           Street                       As of the date you file, the claim is: Check all that apply.

       Pittsburgh, PA 15219                         ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 39
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Debtor 1        Jacqueline              Elizabeth             Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
  2.8 East Pittsburgh Borough                       Last 4 digits of account number        P     1   4    6             $363.96     unknown        $363.96
      Priority Creditor’s Name
                                                    When was the debt incurred?
       813 Linden Ave
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       East Pittsburgh, PA 15112                    ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: 513 Main
  2.9 Jordan Tax Service                            Last 4 digits of account number        P     1   4    6            $1,179.46    unknown      $1,179.46
      Priority Creditor’s Name
                                                    When was the debt incurred?
       102 Rahway Rd
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       McMurray, PA 15317                           ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
 2.10 Lincoln Township                              Last 4 digits of account number         7    0   0    1            $1,638.11    unknown      $1,638.11
      Priority Creditor’s Name
                                                    When was the debt incurred?
       P.O. Box 239
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       Lake George, MI 48633                        ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 2.11 Lincoln Township                              Last 4 digits of account number         1    6   0    0            $1,711.02    unknown      $1,711.02
      Priority Creditor’s Name
                                                    When was the debt incurred?
       P.O. Box 239
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       Lake George, MI 48633                        ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: 5154 Oak Run




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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim    Priority     Nonpriority
                                                                                                                                  amount       amount
 2.12 Pittsburgh Water                              Last 4 digits of account number        M     A    I   N            unknown     unknown      unknown
      Priority Creditor’s Name
                                                    When was the debt incurred?                 03/23/2019
       Penn Liberty Plaza I
       1200 Penn Avenue
      Number           Street                       As of the date you file, the claim is: Check all that apply.
       Pittsburgh, PA 15222                         ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Utilities
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 2.13 SC Department of Revenue                      Last 4 digits of account number         3    7   4    8               $0.00    unknown          $0.00
      Priority Creditor’s Name
                                                    When was the debt incurred?
       Office of General Counsel
       300A Outlet Point Blvd
      Number           Street                       As of the date you file, the claim is: Check all that apply.

       Columbia, SC 29210                           ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ✔ Taxes and certain other debts you owe the government
                                                    ❑
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ❑ Other. Specify
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
 2.14 Wayne Co Treasurer                            Last 4 digits of account number         7    3   7    1            $1,238.00    unknown      $1,238.00
      Priority Creditor’s Name
                                                    When was the debt incurred?
       400 Monroe 5th floor
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       Detroit, MI 48226                            ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 2.15 Wayne Co Treasurer                            Last 4 digits of account number         1    1   0    9            $1,006.69    unknown      $1,006.69
      Priority Creditor’s Name
                                                    When was the debt incurred?
       400 Monroe 5th Floor
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       Detroit, MI 48266                            ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1           Jacqueline              Elizabeth                Ard                               Case number (if known) 25-01384-JD
Debtor 2           Terry                   Frank                    Nicola
                  First Name               Middle Name             Last Name

      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 ADT Security Services                                               Last 4 digits of account number         9    0    9     4                            $1,599.69
        Nonpriority Creditor’s Name
                                                                          When was the debt incurred?                 10/01/2024
         Po Box 371878
        Number              Street
                                                                          As of the date you file, the claim is: Check all that apply.

         Pittsburgh, PA 15250-7878
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
        City                      State                   ZIP Code
                                                                          ✔ Disputed
                                                                          ❑
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                          Type of NONPRIORITY unsecured claim:

        ❑ Debtor 2 only                                                   ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                      ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
        ❑ At least one of the debtors and another                         ❑ Debts to pension or profit-sharing plans, and other similar debts
        ❑ Check if this claim is for a community debt                     ✔ Other. Specify Consumer debt
                                                                          ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
  4.2 Advantage Aviator Bankruptcy Dept                                   Last 4 digits of account number         7    5    4     0                           $20,400.68
        Nonpriority Creditor’s Name
                                                                          When was the debt incurred?
         Portfolio Recovery Associates, LLC
         130 Corporate Blvd
                                                                          As of the date you file, the claim is: Check all that apply.
        Number              Street
                                                                          ❑ Contingent
         Norfolk, VA 23502-4952
                                                                          ❑ Unliquidated
        City                      State                   ZIP Code
                                                                          ❑ Disputed
        Who incurred the debt? Check one.
                                                                          Type of NONPRIORITY unsecured claim:
        ❑ Debtor 1 only
        ✔ Debtor 2 only                                                   ❑ Student loans
        ❑
                                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
        ❑ Debtor 1 and Debtor 2 only                                         priority claims
        ❑ At least one of the debtors and another                         ❑ Debts to pension or profit-sharing plans, and other similar debts
        ❑ Check if this claim is for a community debt                     ✔ Other. Specify Credit Card
                                                                          ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




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Debtor 1        Jacqueline              Elizabeth            Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
  4.3 American Express National Bank                               Last 4 digits of account number         4    0   0    2                         $42,254.50
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 07/1/2023
      Becket and Lee LLP
      P.O. Box 3001
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Malvern, PA 19355
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 American Express National Bank                               Last 4 digits of account number         2    0   0    6                          $1,172.92
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 06/01/2024
      Becket and Lee LLP
      P.O. Box 3001
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Malvern, PA 19355
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jacqueline              Elizabeth            Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
  4.5 Armstrong Cable                                              Last 4 digits of account number         1    1   0    3                           $306.17
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 37749
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Philadelphia, PA 19101-5049
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Ultilies
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 AT&T                                                         Last 4 digits of account number         8    8   2    7                           $606.86
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 09/15/2024
       Valor Intelligent Processing, LLC
       PO Box 5014
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Carol Stream, IL 60197-5014
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
                                                                      priority claims
      ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
  4.7 AWA Collections                                              Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Santa Rosa Emergency
       PO Box 6605                                                 As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      Number             Street
       Orange, CA 92863                                            ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Medical Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.8 Capital One Auto Finance                                     Last 4 digits of account number         7    7   4    3                              $0.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       AIS Portfolio Services, LLC
       4515 N Santa Fe Ave. Dept. APS
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Oklahoma City, OK 73118
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Consumer Debt
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
  4.9 CitiBank Best Buy                                            Last 4 digits of account number         6    6   9    2                         $2,942.86
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 09/12/2024
       P.O. Box 790034
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Saint Louis, MO 63179-0034                                  ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 Comenity Caesars Rewards                                     Last 4 digits of account number         0    3   0    5                         $5,181.32
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 650960
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Dallas, TX 75265
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.11 Coyne Oil                                                    Last 4 digits of account number         3    1   2    9                             $64.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Attn: Rose
       513 W 5th St
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Clare, MI 48617-9405
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.12 DirectTV, LLC                                                Last 4 digits of account number         8    8   2    7                           $620.81
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       CT Corporation
       1209 N Orange St
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Wilmington, DE 19801-1120
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.13 DTE Energy                                                   Last 4 digits of account number         8    9   1    4                         $1,271.71
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Attention Legal Department
       PO Box 740786
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Cincinnati, OH 45274-0786
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Utility Services 15826 Appoline
 4.14 DTE Energy                                                   Last 4 digits of account number         8    9   2    2                         $1,730.37
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Attention Legal Department
       PO Box 740786
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Cincinnati, OH 45274-0786
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.15 First Energy                                                 Last 4 digits of account number         7    2   8    4                         $2,780.70
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 07/25/2024
       Penn Power
       Po Box 16001
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
       Reading, PA 19612-6001
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.16 Fortiva Bobs Discount                                        Last 4 digits of account number         3    5   6    2                         $2,182.29
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       TBOM - ATLSA
       6 Concourse Parkway Second Floor
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Atlanta, GA 30328
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.17 Go-Store It                                                  Last 4 digits of account number         1    0   5    4                           $608.20
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 09/30/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: D0013-15x15x8
 4.18 Go-Store It                                                  Last 4 digits of account number         8    8   0    4                             $96.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 11/01/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: A0002




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.19 Go-Store It                                                  Last 4 digits of account number         1    0   9    6                           $507.60
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: C0029
 4.20 Go-Store It                                                  Last 4 digits of account number         1    0   6    8                           $343.20
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: E0004A




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.21 Go-Store It                                                  Last 4 digits of account number         1    0   9    5                           $291.80
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: A0003
 4.22 Hilton Head Resort Four Seasons Centre                       Last 4 digits of account number         1    3   0    5                         $5,297.63
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 06/30/2023
       Wm Weston J Newton Jones, Simpson &
       Newton, PA
       Po Box 1938                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street                                    ❑ Contingent
       Bluffton, SC 29910-1938                                     ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 1 only                                              ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                               priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ At least one of the debtors and another                    ✔ Other. Specify HOA fines
                                                                   ❑
      ❑ Check if this claim is for a community debt
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.23 Home Depot Commercial                                         Last 4 digits of account number         2    8   0    8                         $10,381.06
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Centralized bankruptcy
      PO Box 790034
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Saint Louis, MO 63179
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.24 Home Depot Loan #3877                                         Last 4 digits of account number         6    7   1    9                          $2,672.38
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 03/13/2018
      Po Box 2730
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

      Alpharetta, GA 30023-2730
                                                                   ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.25 Hughes Network Systems                                        Last 4 digits of account number         2    9   3    6                               $0.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 11/01/2024
      PO Box 96874
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

      Chicago, IL 60693-6874
                                                                   ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.26 JPMC                                                          Last 4 digits of account number         5    6   7    1                         $17,242.49
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 01/03/2024
      c/o National Bankruptcy Services, LLC
      PO Box 9013
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Addison, TX 75001
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.27 JPMorgan Chase Bank, N.A.                                     Last 4 digits of account number         5    0   4    2                         $17,349.55
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 03/22/2024
      Robertson, Anschutz, Schneid, Crane
      6409 Congress Avenue Ste. 100
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Boca Raton, FL 33487
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
                                                                      priority claims
      ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.28 JPMorgan Chase Bank, N.A.                                     Last 4 digits of account number         0    9   4    9                         $33,411.50
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 03/28/2024
      Robertson, Anschutz, Schneid, Crane
      6409 Congress Avenue 100
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Boca Raton, FL 33487
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.29 Kohls                                                        Last 4 digits of account number                                                 $1,405.66
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Khols Payment Center
       PO Box 3043                                                 As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      Number             Street
       Milwaukee, WI 53201-3043                                    ❑ Unliquidated
      City                    State                   ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                              ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.30 LVNV Funding, LLC                                            Last 4 digits of account number         5    1   4    3                           $267.15
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/09/2024
       Resurgent Captial Services
       PO Box 10587
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Greenville, SC 29603-0587
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Uniform Claim ID: RSG-00248-804400462




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Debtor 1        Jacqueline              Elizabeth            Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.31 LVNV Funding, LLC                                            Last 4 digits of account number         6    9   7    8                           $801.28
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/09/2024
       Resurgent Captial Services
       PO Box 10587
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Greenville, SC 29603-0587
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Uniform Claim ID: RSG-00248-804407818
 4.32 Medical University of South Carolina                         Last 4 digits of account number         7    2   7    5                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 04/08/2025
       1 Poston Rd Ste 220
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Charleston, SC 29407
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Medical Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jacqueline              Elizabeth            Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.33 NES                                                           Last 4 digits of account number         3    7   1    3                         $10,323.49
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      PNC Bank
      2479 Edison Blvd Unit A
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Twinsburg, OH 44087
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.34 NES                                                           Last 4 digits of account number         3    4   0    3                          $8,960.51
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      PNC Bank
      2479 Edison Blvd Unit A
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Twinsburg, OH 44087
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.35 Office Depot Commercial                                      Last 4 digits of account number         0    3   6    0                         $1,889.18
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 70612
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Philadelphia, PA 19176-0612
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.36 Ohio Turnpike Easy Pass                                      Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 94672
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Cleveland, OH 44101                                         ❑ Unliquidated
      City                    State                   ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                              ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Toll charges
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.37 Pacer Service Center                                         Last 4 digits of account number         3    3   6    3                         $1,035.20
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 03/10/2025
       PO Box 780549
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       San Antonio, TX 78278
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Consumer Debt
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.38 Palmetto Electric Cooperative Inc                            Last 4 digits of account number         4    0   0    7                           $856.04
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 01/27/2025
       Michelle Tyler
       111 Matthews Drive
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Hilton Head Island, SC 29926
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Utility Services for 3218




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.39 Peoples Gas                                                  Last 4 digits of account number         1    6   3    9                           $860.53
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 04/23/2019
       National Recovery Agency
       PO Box 644760
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Pittsburgh, PA 15264-4760
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.40 PODS Enterprises, LLC                                        Last 4 digits of account number         4    6   1    4                         $1,883.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       Legal Department
       5585 Rio Vista Dr.
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Clearwater, FL 33760
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jacqueline              Elizabeth            Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.41 Quantum3 Group LLC                                           Last 4 digits of account number         7    0   0    2                         $4,073.98
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 09/05/2023
       Agent for Crown Asset Management LLC
       PO Box 788
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Kirkland, WA 98083-0788
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Uniform Claim ID: Q2141424518
 4.42 Resurgent Receivables, LLC                                   Last 4 digits of account number         7    4   7    8                           $485.80
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 05/15/2024
       Resurgent Capital Services
       PO Box 10587
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Greenville, SC 29603-0587
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Uniform Claim ID: RSG-00248-804427110




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Debtor 1        Jacqueline              Elizabeth            Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.43 SC Department of Motor Vehicles                              Last 4 digits of account number         7    0   2    5                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       SC Driver Records
       PO Box 1498
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Blythewood, SC 29016-0028
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Tickets
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.44 Synchrony Bank                                               Last 4 digits of account number         1    3   5    4                         $3,493.08
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Paypal Credit
       PO Box 669809
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Dallas, TX 75266
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.45 Synchrony Bank Sams Business                                 Last 4 digits of account number         5    4   8    7                         $6,016.04
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 669809
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Dallas, TX 75266
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.46 Synchrony Bank Sams Master Card                              Last 4 digits of account number         7    8   2    2                         $8,690.41
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 669809
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Dallas, TX 75266
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.47 Synchrony Bank Score Rewards                                 Last 4 digits of account number                                                   $854.71
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 669809
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Dallas, TX 75266                                            ❑ Unliquidated
      City                    State                   ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                              ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.48 TD Bank                                                      Last 4 digits of account number         2    5   7    3                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 840
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Columbus, GA 31908
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Bank Account
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 32 of 39
             Case 25-01384-jd               Doc 46        Filed 05/08/25 Entered 05/12/25 09:14:15                                  Desc Main
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Debtor 1        Jacqueline              Elizabeth            Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.49 TD Bank                                                       Last 4 digits of account number         3    4   7    7                          $2,398.35
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Target Card Services
      PO Box 673
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Minneapolis, MN 55440-0673
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.50 The Huntington National Bank                                  Last 4 digits of account number         3    0   5    8                         $12,878.39
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/26/2023
      PO Box 89424 OPC856
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

      Cleveland, OH 44101
                                                                   ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 33 of 39
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Debtor 1        Jacqueline              Elizabeth            Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.51 The Huntington National Bank                                  Last 4 digits of account number         7    0   4    3                         $14,395.02
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 07/24/2023
      PO Box 89424 OPC856
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

      Cleveland, OH 44101
                                                                   ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.52 The Woodlands at Saint Barnabas, inc                          Last 4 digits of account number         1    0   1    8                         $58,550.40
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/04/2024
      Thomas E. Breath
      128 West Cunningham St
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Butler, PA 16001
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Rent
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Dillon, McCandless, King, Coulter & Graham, LLP




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 34 of 39
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Debtor 1        Jacqueline              Elizabeth            Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.53 T-Mobile                                                     Last 4 digits of account number         6    2   3    7                           $956.78
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       Po Box 53410
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bellevue, WA 98015-3410
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Business Debt
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.54 Traffic Magistrate                                           Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       4819 Bluffton Parkway
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Bluffton, SC 29910                                          ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Ticket
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 35 of 39
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Debtor 1        Jacqueline              Elizabeth            Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.55 U.S. Department of Education                                  Last 4 digits of account number         3    7   4    8                         $76,223.69
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Nelnet
      121 South 13th St
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Lincoln, NE 68508
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ✔ Student loans
                                                                   ❑
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.56 Verizon                                                       Last 4 digits of account number         0    0   0    1                            $987.01
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Wireless Bankruptcy Administration
      500 Technology Dr Ste. 500
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Saint Charles, MO 63304
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                   ❑ Student loans
      ❑ Debtor 2 only
      ✔ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 36 of 39
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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.57 West Virginia Parkways Authority                             Last 4 digits of account number         0    4   8    7                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Customer Service Center
       Po Box 1469
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Charleston, WV 25325-1469
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Ticket
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.58 Wright's Custom Body Shop LLC                                Last 4 digits of account number         2    6   6    1                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 04/14/2023
       Progressive Insurance
       1216 Leeson Ave
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
       Cadillac, MI 49601-9097
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Progressive Insurance Claim XX-XXXXXXX




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 37 of 39
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Debtor 1        Jacqueline            Elizabeth              Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                  Nicola
               First Name             Middle Name           Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Detroit Water and Sewerage Dept                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                   Line 2.4 of (Check one):
                                                                                                 ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                                 ❑
     P.O. Box 554899                                                                             ❑ Part 2: Creditors with Nonpriority Unsecured Claims
    Number         Street
                                                                   Last 4 digits of account number

     Detroit, MI 48255-4899
    City                         State          ZIP Code
 2. Detroit Water and Sewerage Dept                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                   Line 2.5 of (Check one):
                                                                                                 ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                                 ❑
     P.O. Box 554899                                                                             ❑ Part 2: Creditors with Nonpriority Unsecured Claims
    Number         Street
                                                                   Last 4 digits of account number

     Detroit, MI 48255-4899
    City                         State          ZIP Code




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 38 of 39
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Debtor 1          Jacqueline              Elizabeth              Ard                         Case number (if known) 25-01384-JD
Debtor 2          Terry                   Frank                  Nicola
                  First Name             Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                           $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                           $0.00

                   6c.    Claims for death or personal injury while you were          6c.                           $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                  $20,252.48
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                              $20,252.48



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                      $76,223.69
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                           $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                           $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +                 $313,378.30
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                           $389,601.99




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 39 of 39
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 Fill in this information to identify your case:

  Debtor 1           Jacqueline               Elizabeth           Ard
                     First Name              Middle Name         Last Name

  Debtor 2           Terry                    Frank               Nicola
  (Spouse, if filing) First Name             Middle Name         Last Name

  United States Bankruptcy Court for the: District of South Carolina

  Case number      25-01384-JD
  (if known)                                                                                                                             ✔ Check if this is an
                                                                                                                                         ❑
                                                                                                                                             amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                   . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                     ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                     Check all schedules that apply:
 3.1    Ard, Louis
        Name                                                                                         ❑ Schedule D, line
        21215 Dartmouth Dr                                                                           ✔ Schedule E/F, line
                                                                                                     ❑                             4.6
        Number                          Street
                                                                                                     ❑ Schedule G, line
        Southfield, MI 48076-5634
        City                                       State                                ZIP Code

 3.2    Global Management Group LLC
        Name                                                                                         ❑ Schedule D, line
        21215 Dartmouth Dr                                                                           ✔ Schedule E/F, line 4.27, 4.53, 4.58
                                                                                                     ❑
        Number                          Street
                                                                                                     ❑ Schedule G, line
        Southfield, MI 48076-5634
        City                                       State                                ZIP Code




Official Form 106H                                                   Schedule H: Codebtors                                                           page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                  Jacqueline             Elizabeth          Ard
                           First Name              Middle Name        Last Name

  Debtor 2                  Terry                  Frank              Nicola
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        District of South Carolina

  Case number                     25-01384-JD                                                                                       ✔ Check if this is an
                                                                                                                                    ❑
  (if known)                                                                                                                            amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/25
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                        there


                                                                                    ✔ Same as Debtor 1
                                                                                    ❑                                                    ✔ Same as Debtor 1
                                                                                                                                         ❑
     21215 Dartmouth Dr                                    From 10/08/2024                                                               From
    Number       Street
                                                           To      03/13/2025        Number      Street                                  To

     Southfield, MI 48076-5634
    City                            State ZIP Code
                                                                                     City                          State ZIP Code


                                                                                    ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                       1006 Laurel Oak Dr                                From 07/01/2023
    Number       Street                                                              Number      Street
                                                           To
                                                                                                                                        To    07/01/2024

                                                                                      Valencia, PA 16059-1338
    City                            State ZIP Code                                   City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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Debtor 1            Jacqueline        Elizabeth              Ard
Debtor 2            Terry             Frank                  Nicola                                          Case number (if known) 25-01384-JD
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                               ❑ Wages, commissions,                                   ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ✔ Operating a business
                                               ❑                                      $6,829.01        ❑ Operating a business

    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2024       )
                                   YYYY        ✔ Operating a business
                                               ❑                                    $81,948.16         ❑ Operating a business

    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY        ✔ Operating a business
                                               ❑                                    $59,249.21         ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the                                                            Retirement                           $27,835.09
    date you filed for bankruptcy:


    For last calendar year:                                                                             Retirement                          $126,305.36
    (January 1 to December 31, 2024       )
                                   YYYY



    For the calendar year before that:                                                                  Retirement                          $145,085.26
    (January 1 to December 31, 2023       )
                                   YYYY




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Debtor 2             Terry                        Frank                Nicola                                         Case number (if known) 25-01384-JD
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $8,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $8,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                         ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             Number       Street


                                                                                                                                         ❑ Suppliers or vendors
             City                         State      ZIP Code
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




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Debtor 2             Terry                 Frank                  Nicola                                          Case number (if known) 25-01384-JD
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case

                                                     Appeal of Foreclosure
    Case title        Spa on Port Royal
                                                     action/judgement                       SC Court of Appeals                             ✔ Pending
                                                                                                                                            ❑
                      Sound V. Jacqueline
                      Ard
                                                                                            Court Name
                                                                                                                                            ❑ On appeal
                                                                                                                                            ❑ Concluded
                                                                                            1220 Senate Street
    Case number 2025-000648                                                                 Number       Street
                                                                                            Columbia, SC 29201
                                                                                            City                      State     ZIP Code


                                                     Real Estate Dispute
    Case title        Thomas S Crook v                                                      State Of Michigan 55th Clare                    ✔ Pending
                                                                                                                                            ❑
                      Cummings Reality
                      Inc.
                                                                                            County
                                                                                            Court Name
                                                                                                                                            ❑ On appeal
                                                                                            225 West Main                                   ❑ Concluded
    Case number 2022-0000900398CZ
                                                                                            Number       Street
                                                                                            Harrison, MI 48625
                                                                                            City                      State     ZIP Code


    Case title        HHR Four Seasons v                                                    SC Court of Common Pleas                        ✔ Pending
                                                                                                                                            ❑
                      Jacqueline Ard and
                      et al
                                                                                            Court Name
                                                                                                                                            ❑ On appeal
                                                                                            Number       Street
                                                                                                                                            ❑ Concluded
    Case number 2023 CP 0701305

                                                                                            City                      State     ZIP Code




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Debtor 2            Terry              Frank                Nicola                                          Case number (if known) 25-01384-JD
                    First Name         Middle Name          Last Name

                                               Nature of the case                      Court or agency                            Status of the case

    Case title       HHR Four Seasons v                                               SC Court of Appeals                        ❑ Pending
                     Jacqueline Ard and
                     Terry Nicola
                                                                                      Court Name
                                                                                                                                 ✔ On appeal
                                                                                                                                 ❑
                                                                                                                                 ❑ Concluded
                                                                                      1220 Senate Street
    Case number 2021 CP 0701984                                                       Number       Street
                                                                                      Columbia, SC 29201
                                                                                      City                    State   ZIP Code


                                               Damages Viloation of Auto
    Case title       in re Jacqueline Ard
                                               stay                                   J. Bratton Davis                           ❑ Pending
                     and Terry Nicola                                                 Court Name
                                                                                                                                 ✔ On appeal
                                                                                                                                 ❑
                                                                                                                                 ❑ Concluded
    Case number 24-03611                                                              US Bankruptcy Courthouse
                                                                                      1100 Laurel St
                                                                                      Number       Street
                                                                                      Columbia, SC 29201-2423
                                                                                      City                    State   ZIP Code


                                               Violation of Stay
    Case title       in re Jacqueline v                                               J. Bratton Davis                           ✔ Pending
                                                                                                                                 ❑
                     Zeidman Jewelry                                                  Court Name
                                                                                                                                 ❑ On appeal
                                                                                                                                 ❑ Concluded
    Case number 25-80005                                                              US Bankruptcy Courthouse
                                                                                      1100 Laurel St
                                                                                      Number       Street
                                                                                      Columbia, SC 29201-2423
                                                                                      City                    State   ZIP Code


                                               Violation of Stay
    Case title       Hilton Head Resorts                                              J. Bratton Davis                           ✔ Pending
                                                                                                                                 ❑
                     v Jacqueline Ard et
                     al
                                                                                      Court Name
                                                                                                                                 ❑ On appeal
                                                                                                                                 ❑ Concluded
                                                                                      US Bankruptcy Courthouse
    Case number 25 80006                                                              1100 Laurel St
                                                                                      Number       Street
                                                                                      Columbia, SC 29201-2423
                                                                                      City                    State   ZIP Code


                                               foreclosure
    Case title       Estate at Westbury                                               SC Court of Appeals                        ❑ Pending
                     v. Jacqueline Ard et
                     al
                                                                                      Court Name
                                                                                                                                 ✔ On appeal
                                                                                                                                 ❑
                                                                                                                                 ❑ Concluded
                                                                                      1220 Senate Street
    Case number ap2025 000677                                                         Number       Street
                                                                                      Columbia, SC 29201
                                                                                      City                    State   ZIP Code


                                               Injury Claim
    Case title       Phillip Lowman v                                                 SC Court of Common Pleas                   ✔ Pending
                                                                                                                                 ❑
                     Jacqueline Ard,
                     Global Management
                                                                                      Court Name
                                                                                                                                 ❑ On appeal
                     Group, LLC
                                                                                      Number       Street
                                                                                                                                 ❑ Concluded
    Case number 2024CP0700616
                                                                                      City                    State   ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ❑ No. Go to line 11.
    ✔ Yes. Fill in the information below.
    ❑
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                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date              Value of the property
                                                                    2017 Hyundai Elantra
    Title Max Corporation                                                                                                04/09/2025                 $4,500.00
    Creditor’s Name

    15 Bull St
    Number     Street                                               Explain what happened

                                                                   ✔ Property was repossessed.
                                                                   ❑
                                                                   ❑ Property was foreclosed.
    Savannah, GA 31401-2685                                        ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.
                                                                    Describe the property                                Date              Value of the property
                                                                    Jewelry property of the Estate retained and
    Zeidmans Jewelry & Loan of MI                                   sold                                        03/26/2025                         $35,540.00
    Creditor’s Name

    2669 Gratiot Ave
    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
    Detroit, MI 48207-3207                                         ❑ Property was garnished.
    City                           State    ZIP Code               ✔ Property was attached, seized, or levied.
                                                                   ❑


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was    Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ❑ No
    ✔ Yes
    ❑

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.

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     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave     Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




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 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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                                               Description and value of property         Describe any property or payments               Date transfer was
                                               transferred                               received or debts paid in exchange              made

    Person Who Received Transfer



    Number      Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                         Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                      instrument               closed, sold, moved, or    before closing or
                                                                                                               transferred                transfer

    Name of Financial Institution
                                                XXXX–                               ❑ Checking
                                                                                    ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code




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  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else had access to it?                  Describe the contents                    Do you still have
                                                                                                                                      it?

                                                                                                                                     ❑ No
    Name of Financial Institution               Name
                                                                                                                                     ❑ Yes

    Number      Street                          Number    Street



                                                City                 State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Who else has or had access to it?           Describe the contents                    Do you still have
                                                                                                                                      it?
                                                                                            Assorted Business equipment
    Go-Store It                                                                                                                      ❑ No
    Name of Storage Facility                    Name                                                                                 ✔ Yes
                                                                                                                                     ❑
    33 Parmenter Rd.
    Number      Street                          Number    Street



                                                City                  State    ZIP Code
    Bluffton, SC 29910
    City                    State    ZIP Code

                                                                                            Personal belongs.
    PODS                                                                                                                             ❑ No
    Name of Storage Facility                    Name                                                                                 ✔ Yes
                                                                                                                                     ❑
    280 Leetsdale Industrial Dr. Ste
    200                                         Number    Street
    Number      Street


                                                City                  State    ZIP Code

    Leetsdale, PA 15056
    City                    State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
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                                                Where is the property?                             Describe the property                     Value



    Owner's Name
                                               Number     Street



    Number     Street

                                               City                       State   ZIP Code



    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                             Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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                                                   Governmental unit                        Environmental law, if you know it                  Date of notice



    Name of site                                  Governmental unit



    Number        Street                          Number       Street



                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                 Status of the case



    Case title                                                                                                                                 ❑ Pending
                                                                                                                                               ❑ On appeal
                                                  Court Name


                                                                                                                                               ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Global Management Group LLC                                                                              Do not include Social Security number or ITIN.
    Name
                                                   Property Management
                                                                                                              EIN:   6     1 – 1   6   0   4   1   1   1


                                                    Name of accountant or bookkeeper                         Dates business existed
    21215 Dartmouth Dr
    Number        Street
                                                                                                              From 09/24/2009 To
    Southfield, MI 48076-5634
    City                    State   ZIP Code




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                                                Describe the nature of the business                  Employer Identification number
     Beachside Estates LLC                                                                           Do not include Social Security number or ITIN.
    Name
                                               Multi-member LLC Partnership
                                                                                                      EIN:   8   8 – 1    0   0   9   4   3   1


                                                Name of accountant or bookkeeper                     Dates business existed
     100 Kensington Blvd Unit 1106
    Number     Street
                                                                                                      From 03/03/2022 To
     Bluffton, SC 29910
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
     Global Management Group LLC                                                                     Do not include Social Security number or ITIN.
    Name
                                               Property Management
                                                                                                      EIN:   6   1 – 1    6   0   4   1   1   1


                                                Name of accountant or bookkeeper                     Dates business existed
     21215 Dartmouth Dr
    Number     Street
                                                                                                      From 09/24/2009 To
     Southfield, MI 48076-5634
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
     Beachside Estates LLC                                                                           Do not include Social Security number or ITIN.
    Name
                                               Multi-member LLC Partnership
                                                                                                      EIN:   8   8 – 1    0   0   9   4   3   1


                                                Name of accountant or bookkeeper                     Dates business existed
     100 Kensington Blvd Unit 1106
    Number     Street
                                                                                                      From 03/03/2022 To
     Bluffton, SC 29910
    City                   State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                Date issued



    Name                                       MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




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                        ADT Security Services
                        PO Box 371878
                        Pittsburgh, PA 15250-7878




                        Advantage Aviator Bankruptcy Dept
                        Portfolio Recovery Associates, LLC
                        130 Corporate Blvd
                        Norfolk, VA 23502-4952




                        American Express National Bank
                        Becket and Lee LLP
                        P.O. Box 3001
                        Malvern, PA 19355




                        Armstrong Cable
                        PO Box 37749
                        Philadelphia, PA 19101-5049




                        AT&T
                        Valor Intelligent Processing, LLC
                        PO Box 5014
                        Carol Stream, IL 60197-5014
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                        AWA Collections
                        Santa Rosa Emergency
                        PO Box 6605
                        Orange, CA 92863




                        Beaufort County Treasurer
                        Property Tax
                        Po Box 105176
                        Atlanta, GA 30348-5176




                        Bromley Law Firm LLC
                        Evan K. Bromley
                        211 Goethe Rd Ste B
                        Bluffton, SC 29910-6014




                        Capital One Auto Finance
                        AIS Portfolio Services, LLC
                        4515 N Santa Fe Ave. Dept. APS
                        Oklahoma City, OK 73118




                        CitiBank Best Buy
                        P.O. Box 790034
                        Saint Louis, MO 63179-0034
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                        City of Detroit Water and Sewerage Dept
                        735 Randolph St
                        Detroit, MI 48226-2830




                        Comenity Caesars Rewards
                        PO Box 650960
                        Dallas, TX 75265




                        Consumer Energy Company
                        Attn: Legal Dept
                        One Energy Plaza Dr
                        Jackson, MI 49201-2357




                        County of Allegheny Treasurer
                        Room 108 Courthouse
                        436 Grant St
                        Pittsburgh, PA 15219




                        Coyne Oil
                        Attn: Rose
                        513 W 5th St
                        Clare, MI 48617-9405
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                        Detroit Water and Sewerage Dept
                        P.O. Box 554899
                        Detroit, MI 48255-4899




                        DirectTV, LLC
                        CT Corporation
                        1209 N Orange St
                        Wilmington, DE 19801-1120




                        DTE Energy
                        Attention Legal Department
                        PO Box 740786
                        Cincinnati, OH 45274-0786




                        East Pittsburgh Borough
                        813 Linden Ave
                        East Pittsburgh, PA 15112




                        Esq. Jannine M. Mutterer
                        5 Cedar St.
                        Bluffton, SC 29910-7215
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                        Estate At Westbury Owners Assoc, Inc
                        Board of Directors
                        85 Kensington Blvd
                        Bluffton, SC 29910-4884




                        First Energy
                        Penn Power
                        Po Box 16001
                        Reading, PA 19612-6001




                        Fortiva Bobs Discount
                        TBOM - ATLSA
                        6 Concourse Parkway Second Floor
                        Atlanta, GA 30328




                        Go-Store It
                        33 Parmenter Rd.
                        Bluffton, SC 29910




                        Hilton Head Resort Four Seasons Centre
                        Wm Weston J Newton
                        Jones, Simpson & Newton, PA
                        Po Box 1938
                        Bluffton, SC 29910-1938
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                        Home Depot Commercial
                        Centralized bankruptcy
                        PO Box 790034
                        Saint Louis, MO 63179




                        Home Depot Loan #3877
                        Po Box 2730
                        Alpharetta, GA 30023-2730




                        Honorable Nicola Henry-Taylor
                        Allegheny Court of Common Pleas
                        712 City Council Building
                        414 Grant St
                        Pittsburgh, PA 15219-2409




                        Hughes Network Systems
                        PO Box 96874
                        Chicago, IL 60693-6874




                        Ian D, Maguire and Tiffany Buffkin
                        Maguire Law Firm
                        1600 North Oak St Ste. B
                        Myrtle Beach, SC 29577-3525
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                        Jordan Tax Service
                        102 Rahway Rd
                        McMurray, PA 15317




                        JPMC
                        c/o National Bankruptcy Services, LLC
                        PO Box 9013
                        Addison, TX 75001




                        JPMorgan Chase Bank, N.A.
                        Robertson, Anschutz, Schneid, Crane
                        6409 Congress Avenue 100
                        Boca Raton, FL 33487




                        Julie A. Franklin, Esq
                        Po Box 2976
                        Bluffton, SC 29910-2976




                        Kohls Payment Center
                        PO Box 3043
                        Milwaukee, WI 53201-3043
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                        Komatsu Benefit Dept
                        Mark Harder
                        401 E Greenfield Ave
                        Milwaukee, WI 53204-2941




                        Law Office of Scott M. Wild LLC
                        Scott M. Wild
                        37 New Orleans Road Suite F
                        Hilton Head Island, SC 29928




                        Lincoln Township
                        P.O. Box 239
                        Lake George, MI 48633




                        Louis Ard
                        21215 Dartmouth Dr
                        Southfield, MI 48076-5634




                        LVNV Funding, LLC
                        Resurgent Captial Services
                        PO Box 10587
                        Greenville, SC 29603-0587
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                        Master in Equity
                        102 Ribaut Rd 2nd Floor
                        Beaufort, SC 29902-4453




                        Medical University of South Carolina
                        1 Poston Rd Ste 220
                        Charleston, SC 29407




                        Midland Credit Management
                        320 East Big Beaver
                        Troy, MI 48083-1271




                        Monevolnc
                        8910 University Cntr Lane Ste. 400
                        San Diego, CA 92122-1025




                        Morgan Lewis & Bockius LLP
                        Attn: Matt Hawes
                        One Oxford Centre, Thirty-Second FLR
                        Pittsburgh, PA 15219-6401
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                        Morgan Templeton
                        145 King Street Ste. 300
                        Charleston, SC 29401-2253




                        Mutterer Law Firm, LLC
                        Jannine M. Mutterer, Esq
                        5 Red Cedar Street Suite 102
                        Bluffton, SC 29910




                        Nationstar Mortgage, LLC
                        Attn: Bankruptcy Department
                        PO Box 619096
                        Dallas, TX 75261-9741




                        Nationwide Credit Inc
                        1225 Washington St Ste. 301
                        Tempe, AZ 85288-1239




                        NES
                        PNC Bank
                        2479 Edison Blvd Unit A
                        Twinsburg, OH 44087
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                        Norman Jewelry and Loan
                        24777 Telegraph Suite B
                        Southfield, MI 48034




                        Northstar Location Services
                        4285 Genesee St.
                        Buffalo, NY 14225-1943




                        Office Depot Business Credit
                        Dept 563-8406380360
                        PO Box 70612
                        Philadelphia, PA 19176-0612




                        Ohio Turnpike Easy Pass
                        PO Box 94672
                        Cleveland, OH 44101




                        PA Dept of Revenue
                        Bureau of Individual Taxes
                        PO Box 280504
                        Philadelphia, PA 19176-0612
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                        PA Turnpike Toll By Plate
                        PO Box 645631
                        Pittsburgh, PA 15264-5254




                        Pacer Service Center
                        PO Box 780549
                        San Antonio, TX 78278




                        Palmetto Electric Cooperative Inc
                        Michelle Tyler
                        111 Matthews Drive
                        Hilton Head Island, SC 29926




                        Peoples Gas
                        National Recovery Agency
                        PO Box 644760
                        Pittsburgh, PA 15264-4760




                        Pittsburgh Water
                        Penn Liberty Plaza I
                        1200 Penn Avenue
                        Pittsburgh, PA 15222
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                        Plymouth Rock Assurance
                        695 Atlantic Ave
                        Boston, MA 02111-2605




                        PNC Bank
                        1900 E 9th St
                        Cleveland, OH 44114-3484




                        PODS Enterprises, LLC
                        Legal Department
                        5585 Rio Vista Dr.
                        Clearwater, FL 33760




                        Polly Nicola
                        2583 Lower Assembly Drive
                        Fort Mill, SC 29708




                        Quantum3 Group LLC
                        Agent for Crown Asset Management LLC
                        PO Box 788
                        Kirkland, WA 98083-0788
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                        Radius Global Solutions
                        7831 Glenory Rd Ste. 250
                        Minneapolis, MN 55439-3117




                        Resurgent Receivables, LLC
                        Resurgent Capital Services
                        PO Box 10587
                        Greenville, SC 29603-0587




                        S.C. Dept of Revenue amd Taxation
                        PO Box 125
                        Columbia, SC 29214-0001




                        SC Department of Motor Vehicles
                        SC Driver Records
                        PO Box 1498
                        Blythewood, SC 29016-0028




                        SC Department of Revenue
                        Office of General Counsel
                        300A Outlet Point Blvd
                        Columbia, SC 29210
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                        Semina Delaurentis
                        66 Quail Run
                        Torrington, CT 06790-2549




                        Smith Debnam Narron Drake Saintsing
                        & Myers, LLP
                        Lucas S. Fautua
                        171 Church St Ste 120c
                        Charleston, SC 29401-3136




                        South Carolina Dept of Motor Vehicles
                        PO Box 1498
                        Blythewood, SC 29016-1498




                        Synchrony Bank
                        Paypal Credit
                        PO Box 669809
                        Dallas, TX 75266




                        Synchrony Bank Sams Business
                        PO Box 669809
                        Dallas, TX 75266
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                        Synchrony Bank Sams Master Card
                        PO Box 669809
                        Dallas, TX 75266




                        Synchrony Bank Score Rewards
                        PO Box 669809
                        Dallas, TX 75266




                        Synergetic Communication
                        PO Box 680608
                        Franklin, TN 37068-0608




                        Tate and Kirlin Assoc
                        4800 E Street Rd Ste 170
                        Fstrvl Trvose, PA 19053-6660




                        Taybron Law Firm LLC
                        3399 Churchview Ave
                        Pittsburgh, PA 15227-4358




                        TBOM-ATLAS-Fortiva
                        6 Concourse Pkwy # 2
                        Atlanta, GA 30328-6117
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                        TD Bank
                        PO Box 840
                        Columbus, GA 31908




                        TD Bank
                        Target Card Services
                        PO Box 673
                        Minneapolis, MN 55440-0673




                        TD Bank
                        PO Box 84037
                        Columbus, GA 31908




                        The Hertz Corporation
                        8501 Williams Rd
                        Estero, FL 33928-3325




                        The Huntington National Bank
                        PO Box 89424 OPC856
                        Cleveland, OH 44101
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                        The Spa on Port Royal Sound
                        Board of Directors
                        239 Beach City Rd
                        Hilton Head, SC 29926-4707




                        The Woodlands at St Barnabas
                        Thomas E. Breath
                        128 West Cunningham St
                        Butler, PA 16001




                        Ticket Division
                        PA Turnpike EZ Pass
                        300 E Park Dr
                        Harrisburg, PA 17111-2729




                        Title Max of South Carolina
                        Attn: John B Kelchner
                        1901 Main St. Ste 900
                        Columbia, SC 29201




                        T-Mobile
                        Po Box 53410
                        Bellevue, WA 98015-3410
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                        Traffic Magistrate
                        4819 Bluffton Parkway
                        Bluffton, SC 29910




                        U.S. Department of Education
                        Nelnet
                        121 South 13th St
                        Lincoln, NE 68508




                        UPMC
                        Po Box 371472
                        Pittsburgh, PA 15250-7472




                        Verizon
                        Wireless Bankruptcy Administration
                        500 Technology Dr Ste. 500
                        Saint Charles, MO 63304




                        Viking Client Services
                        Hertz Damage Recovery Team
                        7500 Office Ridge Cir Ste 100
                        Eden Prairie, MN 55344-3763
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                        Wayne Co Treasurer
                        400 Monroe 5th floor
                        Detroit, MI 48226




                        Wells Fargo Bank
                        Po Box 5058
                        Portland, OR 97208-5058




                        West Virginia Parkways Authority
                        Customer Service Center
                        Po Box 1469
                        Charleston, WV 25325-1469


                        West-Aircomm FCU
                        Weltman, Weinberg & Reis Co LPA
                        5990 W Creek Rd Ste 200
                        Independence, OH 44131-2191




                        Westlake Financial
                        2 Equity Way Ste 200
                        Westlake, OH 44145-1045
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                        Wright's Custom Body Shop LLC
                        1216 Leeson Ave
                        Cadillac, MI 49601-9097




                        Zeidman’s Jewelry & Loan of MI
                        Best Law Tara E. Nauful
                        Po Box 2374
                        Mt Pleasant, SC 29465-2374
